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       IN THE UNITED STATES DISTRICT COURT
       FOR THE WESTERN DISTRICT OF NEW YORK

       UNITED STATES OF AMERICA

              -v-                                                       16-CR-6084DGL

       SCOTT T. WILBERT,

                                    Defendant.




                    GOVERNMENT=S POST HEARING MEMORANDUM



       The defendant, SCOTT T. WILBERT, through his attorney, Robert A. Napier, Esq., has filed

a post hearing memorandum in the above referenced matter.              The UNITED STATES OF

AMERICA, by and through its attorneys, James P. Kennedy, Jr., United States Attorney for the

Western District of New York, and Melissa M. Marangola, Assistant United States Attorney, of

counsel, hereby files the government=s post hearing memorandum.



                                          INDICTMENT



       The defendant is charged in a one-count Indictment charging a violation of Title 18, United

States Code, Section 2252A(a)(2)(A), knowingly receiving child pornography.            Based on the

defendant’s prior conviction for sexual conduct involving a minor, pursuant to Title 18, United States

Code, Section 2252A(b)(1), the defendant faces a mandatory minimum sentence of fifteen years (15)

imprisonment and a maximum sentence of forty (40) years imprisonment.
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                                     STATEMENT OF FACTS



       Omegle.com is an instant messaging/chat website created by Leif K-Brooks in 2009. (Hearing

Transcript, January 17, 2018, hereinafter “HT”, p. 21). The site is unique because other websites

are designed for users to chat with other individuals they know. Id. Omegle.com was designed for

users to connect with other random users that are unknown to each other. Id. The user has no

control over who they are selected to chat with on the site. (HT, pp. 21-22). The site’s software

chooses the users selected to chat with each other at random and some users could be law

enforcement agents posing as regular users. (HT, p. 22).



       Leif K-Brooks published Omegle.com’s privacy policy online in 2014 and it continues to

remain in effect. (HT, pp. 25-27.) The site also contains a link to the privacy policy directly above

the button a user would use to begin a chat session. (HT, p. 22.) The policy advises users that at

the beginning of every chat (video or text) a record is made that includes the users’ IP addresses and

a timestamp of the chat. (Government Exhibit 3; HT, pp. 29, 31-32). This information is typically

stored for approximately 120 days. (HT, p. 31, 34; See government exhibit 4).



       Additionally, the site issues a warning in large text on the site that advises users that the video

chats are moderated. (HT, p. 23.) The video chats operate on a peer-to-peer system, which means

the video transmissions never travel through Omegle servers.            (HT, pp. 27-28).      The video

moderation system captures screenshots of the video chats, which are reviewed by the moderation


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system and then human moderators. (HT, p. 29). More specifically, the moderation system has

automated software that captures screenshots from the video chats that are uploaded to Omegle’s

servers, screens them for unwanted content, and sends them to a queue for human moderation review

if they fail the automated test. (HT, p. 34).



       The automated software program flagged two images from the defendant’s IP address

(50.49.31.78) on October 25, 2015 at 2:30 and 2:36. (HT, p.38). The two images were captured

from the user’s computer and uploaded to Omgele’s servers for moderation purposes. (HT, pp., 39-

40). These images failed the automated screening test and were placed into a queue for human

review of a private, third party moderation service, Gracall International.     (HT, pp. 40-42).

Omegle’s metadata records show information related to the two jpge images including that they were

captured from the defendant’s IP address and how they were classified by the moderators. (HT, p.

42; Governments Exhibits 5 & 6).



       The jpeg image uploaded by the defendant’s IP address and saved to the Omgele server at

2:36 is saved as jpeg “c6do”. (HT, pp. 45-46). Metadata shows that specific image was flagged by

the automated software as suspicious then reviewed by a human moderator with employee ID

“Gracall115”, who flagged the image by pressing a button saying she believed the image contained

child pornography. (HT, p. 46). Jpeg image “a9e7” was uploaded by the defendant’s IP address

at 2:30 and flagged by the automated moderation system. (HT, pp. 47, 49). The metadata can




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confirm whether or not a human moderator actually viewed the image because the image was not

flagged by a human as containing child pornography. (HT, pp. 49-50).



      Once jpeg image “c6d0” was flagged by a human moderator as containing child pornography,

a software program designed by Omegle automatically sent a cybertip to NCMEC. (HT, pp. 50-52,

54-55). In this case, the cybertip sent by Omegle created NCMEC Cybertip Report 6928493, which

contained both jpeg images uploaded by the defendant’s IP address on October 25, 2015 at 2:30 and

2:36. (Government Exhibit 7; HT, p. 55). Cybertip Report 6928493 accurately states that jpeg

image “c6d0” was opened by a human moderator. (Government Exhibit 7, p. 3; HT, pp. 57-58).

The cybertip report does not indicate that jpeg image “a9e7” was opened by a human moderator.

(HT, pp. 57-58; Government Exhibit 7, p. 2). Omegle.com has no further involvement with the

images after a cybertip is submitted to NCMEC. (HT, p. 58).



      Leif K-Brooks explained that he does not believe that he has to actively look on Omegle.com

for images of child pornography. (HT, p. 50). He understands that if he sees child pornography

on Omegle.com, he has to report the images to NCMEC, which is what he did in this case. (HT, p.

50). NCMEC received Omegle’s cybertip related to this case on October 25, 2015 at 2:38:58. (HT,

p. 111, Government Exhibit 7). NCMEC Vice President John Sheehan reviewed Cybertip Report

6928493 and explained Section A of the report is information submitted directly by Omegle (HT, pp.

112-113). He confirmed that Omegle submitted two jpeg images to the cybertipline that were

uploaded by IP address 50.49.31.78 and the timestamps of the uploads. (HT, p. 113, 115-116).


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Sheehan explained that based on the information provided by Omegle, NCMEC could not determine

that jpeg image “a9e7” had been previously opened by a human moderator. (HT, p. 114). Omegle

did indicate however, that jpeg image “c6d0” was opened previously by a human moderator. (HT,

p. 115). Once the information was submitted to NCMEC, NCMEC then used a public website to

determine the geographical location of the IP address. (HT, p. 116). NCMEC commonly uses

MaxMind to find the geographical location because it is free, reliable and works quickly. (HT, pp.

116-117, 159). NCMEC used this software to determine the IP address related to this matter was

located in Rochester, New York and is affiliated with Frontier Communications. (HT, p. 117).

NCMEC does this public search so it can pass the information on to the appropriate law enforcement

agency. (HT, pp. 118-119, 159).



       Sheehan reviewed the Cybertip Report in this case and reviewed jpeg image “c6d0” as it was

the only viewable image that he had access to. (HT, p. 120). Jpeg image “a9e7” had never been

previously viewed by any NCMEC employee because of software that prevented the image from

being opened. (HT, p. 120). In 2014, NCMEC implemented software that prohibits employees

from viewing images that had not been previously viewed by the submitting company, in this case

Omegle. (HT, pp 120-121). Since Omegle submitted information to NCMEC that jpeg image

“a9e7” had not been previously viewed, NCMEC locked the image in its system and made that

image unviewable. (Government Exhibit 9; HT, pp. 120-122, 151-152). For an employee to be

able to view that image, the employee would need an override authorization code; Sheehan

confirmed that did not occur here with respect to image “a9e7”. (HT, p. 122, 154-155).


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       Image “c6d0” was available to be viewed by a NCMEC employee because Omegle indicated

in its submission that the image had been previously opened by a human moderator. (HT, p. 128).

Sheehan personally observed image “c6d0” in the Cybertip Report and confirmed this image was

Government Exhibit 1 at the hearing.        (HT, p. 128).   The “image” is actually a screenshot

contained of 4 still images taken from the video chat. (HT, p. 129). Sheehan described image

“c6d0” as being a girl between 4-7 years old receiving oral sex from a dog. (Government Exhibit 1;

HT, p. 130). Government Exhibit 2 was confirmed to be image “a9e7”, which was never seen by

Sheehan prior to that date. (HT, p. 130).



       Sheehan could determine from the Cybertip Report that an employee had viewed image

“c6d0” and marked it as “child pornography unconfirmed” which tells him the employee could not

make a determination of the child’s age. (HT, p. 131). NCMEC does not have the authority to

make determinations as to whether a specific image is considered child pornography; law

enforcement has the responsibility to make that determination. (HT, p. 133). These images and

the report were then made available to the New York State Police via a virtual private network that

can only be accessed by NCMEC and the corresponding law enforcement agencies. (HT, p. 133).

There are no restrictions placed on any images as they are passed on to law enforcement and

NCMEC has no control over what law enforcement views. (HT, pp-135-136).



       New York State Police (NYSP) investigators then accesses the web portal and viewed

Cybertip Report 6928493 along with both jpeg images submitted with the report. (HT, p. 166).


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Both images were viewed to determine whether one or both met the statutory requirements for

criminal offenses related to child pornography. (HT, pp. 166-167). NYSP investigators make their

own determination as to this issue and do not rely on other non-law enforcement opinions for this

issue. (HT, pp. 166-167, 191-191). NYSP then issued subpoenas to Frontier Communications to

determine who the relevant IP address belonged to. (HT, p. 167).



       On approximately December 22, 2015, the case was assigned to NYSP Investigator Dave

Cerretto for further investigation. (HT, pp. 167-168). Investigator Cerretto viewed the Cybertip

Report along with both jpeg images. (HT, pp. 168-169). He viewed image “c6d0” and confirmed

it contained child pornography, specifically a young girl receiving oral sex from a dog. (HT, pp.

169-170; Government Exhibit 1). He viewed image “a9e7” and could not determine if it contained

child pornography or not. (HT, p. 170; Government Exhibit 2).



       Based on his personal review of the images, he sought a search warrant for the defendant’s

residence at 634 Garson Avenue, upstairs. (Government Exhibit 12; HT, pp. 170-171). In the

application, Investigator Cerretto lists his facts in support of probable cause to be his review of

Cybertipline Report 6928493 and describes the image he identified as Government Exhibit 1, image

“c6d0”, which is a young girl between 4 and 7 years old engaged in oral sex with a K-9.

(Government Exhibit 12; HT, pp. 172-172, 187). The warrant application describes the image to be

uploaded by the defendant’s IP address at 2:30. (HT, p 173). It is uncontested that image “c6d0”

was actually uploaded by the defendant’s IP address at 2:36. (HT, p. 173; Government Exhibits, 5,


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6 & 7). Investigator Cerretto explained that he considered the incident related to both images to be

one continuous act, beginning at 2:30, the time the first image (“a9e7”) was uploaded by Omegle

from the defendant’s video chat. (HT, pp. 173-174; 178-179, 185, 189). He made clear that he

applied for the search warrant based on image “c6d0”, which he determined to contain child

pornography. (HT, p. 174). Monroe County Court Judge Victoria Argento then authorized a

search warrant for the defendant’s residence based on Investigator Cerretto’s application.

(Government Exhibit 12; HT, p. 174).



                                          DISCUSSION



       Omgele Conducted a Private Search

       The Fourth Amendment regulates state actors.         Private parties are only bound by its

requirements insofar as they operate as state actors.        The Fourth Amendment is “wholly

inapplicable to a search or seizure, even an unreasonable one, effected by a private individual not

acting as a defacto agent of the government.” United States v. DiTomasso, 81 F.Supp 3d 304, 308

(SDNY 2015), citing United States v. Jacobsen, 466 U.S. 109, 104 S.Ct. 1652 (1984); Coolidge v.

New Hampshire, 403 U.S. 443, 487-89, 91 S. Ct. 2022 (1971). A private citizen may act as an agent

for the government if the party must perform a search, or fact liability for not doing so. Skinner v.

Railway Labor Executives Ass’n, 489 U.S. 602, 614 (1989).




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       It is well established that privately owned ISP’s, including Omegle.com are not government

actors. United States v. DiTomasso, 81 F.Supp 3d 304, 310 (SDNY 2015); See United States v.

Richardson, 607 F.3d 357, 364 (4th Cir. 2010); United States v. Stevenson, 727 F.3d 826, 829-30 (8th

Cir. 2013); United States v. Keith, 980 F.Supp.2d 33, 40 (D.Mass. 2013); United States v. Ackerman,

2014 WL 2968164,*6-7 (D.Kan., July 1, 2014). See also United States v. Drivdahl, 2014 WL 896734

(D.Mont., Mar. 6, 2014) (holding that a different internet service provider, Google, was not an agent

of the government in reporting apparent images of child pornography to NCMEC). The defendant

concedes this fact by failing to raise a contrary argument in his filing. Omegle.com is a privately

owned business, founded by Leif K-Brooks in 2009. (HT, p. 21). Omegle.com began monitoring

chats in 2012 in an effort to remove the inappropriate content flowing through its site after receiving

bad publicity when individuals used the site to meet minors. DiTomasso, 81 F.Supp 3d at 310. K-

Brooks felt no legal obligation to monitor his site for child pornography or other inappropriate

conduct; he did so on his own accord. Id. K-Brooks was aware that if he did find any child

pornography on his site, only then did he have a duty to report this to NCMEC. Id. (HT, pp. 50-51).

K-Brooks “appreciates the difference between an obligation to monitor and an obligation to report”

and correctly understands Section 2258A as imposing no duty to monitor”. Id.



       In this case, the monitoring software designed by K-Brooks flagged two images sent by the

defendant’s IP address as being suspicious of containing inappropriate content. (HT, p. 38) The

images flagged were jpeg image “a9e7” and jpeg image “c6d0”. Id. Omegle’s metadata confirmed

that jpeg image “c6d0” was viewed by a third party human moderator. (HT, p. 44; Government


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Exhibits 5 & 6). The human moderator pressed a button that indicated the human moderator

believed that image “c6d0” contained child pornography. (HT, p. 46.) The metadata also showed

that image “c6d0” was uploaded by the defendant’s IP address at 2:36:12.          Id.   Further, the

metadata showed that image “a9e7” was uploaded by the defendant’s IP address at 2:30:21, but it

did not confirm that the image was actually viewed by a third party human moderator. (HT, p. 49;

Government Exhibits 5 & 6). Based on the human moderator’s determination that image “c6d0”

contained child pornography and her action of “flagging” the image by pressing a button, the image

was sent to a queue which automatically submitted Cybertip Report 6928493 containing both

images. (HT, pp. 51,53, 55; Government Exhibit 7).



       K-Brooks created the software that monitored the site for inappropriate content and hired the

third party moderation service on his own accord. He specifically designed software to capture the

images sent from users’ computers to be uploaded onto Omegle’s servers for the purpose of

moderation. (HT, pp. 39-40) The third party moderation service used by Omegle is a privately

owned company called Gracall International. (HT, pp. 40-41.) Gracall International provides

moderation services for other companies including competitors of Omegle. (HT, p. 41).



       Consistent with the ruling in DiTomasso, K-Brooks’ testimony here was clear that the

moderation of Omegle.com was done on his own accord. 81 F.Supp 3d at 311. Jpeg image “c6d0”

was flagged by Omegle’s automated software and then actually viewed by a private third party

human monitor prior to the image being sent to NCMEC. This was done without any involvement


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of law enforcement, nor was there any legal requirement for Omegle to search his site for child

pornography. Therefore, the search of image “c6d0” by Omegle’s software and third party human

moderator raises no Fourth Amendment concern. Id.



       NCMEC did not Expand Omegle’s Private Search

       The government continues to maintain that NCMEC is not a government entity. John

Sheehan, Vice President of NCMEC’s Exploited Child Division detailed how NCMEC conducts its

business as a private entity. (HT, pp. 98-99, 109, 124-127). NCMEC is a non-for profit private

entity that received funding through a variety of sources including federal grants, corporate monetary

donations and in-kind donations.      (HT, pp. 101-102).     The Cybertipline was actually created

entirely through an in-kind private donation from Sun Micro Systems. (HT, p. 102). The current

cybertipline evolved from a telephone line that served the same purpose but became outdated as

technology advanced.      (HT, p. 103).     That tip line had absolutely no government or law

enforcement involvement. (HT, pp. 103-104). The Articles of Incorporation (Government Exhibit

8) further confirm the organization is run as a private entity. (HT, p. 109).



       There is no question that NCMEC works closely with law enforcement and have federal

reporting requirements and other regulations as do many other private organizations This close

relationship and federal funding does not automatically make the private entities “government

agents”.    However, to error on the side of caution after the 8th Circuit found NCMEC to be

government entity, NCMEC made significant changes to its practice to distinguish itself from law


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enforcement. (HT, p. 125). NCMEC removed all law enforcement officers from its board of

directors and has prevented law enforcement from having access to NCMEC employees on a regular

basis. (HT, p. 126).



       Most important to this case, NCMEC implemented software to ensure they never exceed the

scope of the searches done by submitting ISPs. (HT, pp. 120-122). Sheehan carefully explained

NCMEC’s process of receiving and processing cybertips in general. Sheehan then went through

Cyber Tip Report 6928493 in detail and demonstrated how the NCMEC employee who processed

this tip only personally viewed jpeg image “c6d0”, an image previously viewed by a human

moderator and had no access to image “a9e7”, a previously unopened image. (HTpp. 120-121).

Sheehan also detailed how NCMEC uses public websites including MaxMind to determine the

geographical location of the IP address in question. (HT, pp. 116-117). Utilizing publicly available

information does not expand Omegle’s search. United States v. Jones, 565 U.S 400, 132 S. Ct. 945

(2012); (HT, p. 197).



       Since NCMEC never did anything but replicate the conduct done by Omegle.com and use a

public website to determine geographical information for the IP address, it is irrelevant whether or

not they are a government actor or a private entity. Thus, the Court need not decide that issue in

this case.




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         The New York State Police’s Actions did not Exceed Omegle’s Private Search.



       It is undisputed that the NYSP opened both images submitted by NCMEC in Cybertipline

Report 6928493 despite the fact that image “a9e7” had not previously been opened by Omegle’s

human moderator or NCMEC. It is their customary practice to open all images submitted by

NCMEC to confirm the images meet the statutory definition of child pornography. (HT, pp. 190-

191). Despite opening image “a9e7”, the government maintains NYSP did not exceed Omegle’s

private search.



       The private search doctrine permits a government agent to verify the illegality of evidence

discovered during a private search provided the agent stays within the scope of the private search.

United States v. Jacobsen, 466 U.S. at 119-20); United States v. Lichtenberger, 786 F.3d 478, 481-83

(6th Cir. 2015). A government agent’s invasion of a defendant’s privacy must “be tested by the

degree to which [the agent] exceeded the scope of the private search.” Jacobsen, 466 U.S. at 115

(citing Walter, 447 U.S. 649). “Once frustration of the original expectation of privacy occurs, the

Fourth Amendment does not prohibit governmental use of the now-non-private information.” Id.,

at 117. Under the private search doctrine, the critical measure of whether a government search

exceeds the scope of the private search that preceded it are how much information the government

stands to gain when it re-examines the evidence and relatedly, how certain it is regarding what it will

find.” United States v. Miller, 2017 WL2705963 (E.D.K.Y, 2017), citing Lichtenberger, 786 F.3d at

485-86; Jacobsen, 466 U.S. at 119.


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       The Court here must determine whether the Fourth Amendment is implicated by the NYSP’s

opening and viewing of the images provided by NCMEC in Cybertipline Report 6928493.

Employees at Omegle and NCMEC previously reviewed one of the two images that were flagged by

the automated software. The opened image was captured by the automated software on October

25, 2015 at 2:30 a.m. The second image viewed by the NYSP was flagged by the automated

software at 2:36, identified as suspicious and determined to occur during the same chat session as

the previous image. This still image was not personally viewed by an employee at Omegle or

NCMEC, but was forwarded on the NYSP based on the connection to the other image and it being

flagged by the automated software program as suspicious.



       The defendant relies on the Ackerman decision to support his argument that the search by

NYSP in this case was unconstitutional. There, the defendant sent an email containing child

pornography that was intercepted by AOL before the email reached the intended recipient.

Ackerman, 831 F.3d at 1294. The email had four attachments, one of which was flagged by the

automated software program as being suspicious. Id. At no time did an actual employee review the

contents of the email or any of the attachments. The email and all four attachments were reported

to NCMEC. Id. A NCMEC employee opened the email and all four attachments, confirming that

the images all contained child pornography. Id. The Ackerman court then concluded that NCMEC

was a government agent and exceeded AOL’s private search because NCMEC opened and viewed

information beyond the one image that was the target of AOL’s automated software. Id. at 1306.

The Ackerman court’s concern was solely with the fact that NCMEC opened an email and three


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other attachments that could have exposed “private, non-contraband information that AOL had not

previously examined” including correspondence or personal details of the recipient of the email. Id.

at 1306-07.



       The facts of this case are distinguishable from Ackerman as there is no evidence that Omegle

sent anything to NCMEC (or ultimately the NYSP) other than the two still images (as opposed to an

unopened email with three additional unlagged attachments) that were captured by the automated

software and flagged as suspicious. (HT, pp. 190-191). Thus, the reasoning of the Ackerman court

finding the search exceeded the scope of the private search is not applicable in this case.



       The issue is whether the NYSP’s opening of the two images risked exposing any private

information beyond what Omegle had reported to NCMEC. The answer is no. Omegle did not,

as was the case in Ackerman, simply send the unopened video chat to NCMEC. Omegle actually

captured two still images (4 still images each) from the video feed and uploaded these images to their

servers. Image “c6d0” was actually viewed by a human moderator hired by Omegle before it was

forwarded to NCMEC. A NCMEC employee viewed the same image and then forwarded it on to

the NYSP who also viewed the image. Obviously, the private search was not expanded by NYSP

with respect to this image.     Image “a9e7” was flagged by Omegle’s automated software as

suspicious. A human moderator did not open this image but forwarded it along with the first image

because it was flagged by the software and both images occurred during the same video chat. A




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NCMEC employee did not view this image, but forwarded it on to the NYSP as part of Cybertipline

Report 6928493.



       NYSP Investigator Cerretto (and other NYSP investigators) opened both images to confirm

they contained child pornography and he then continued his investigation by issuing subpoenas for

the IP address associated with the images and ultimately a search warrant for the defendant’s home.

(HT, pp. 191-192). The images opened by the NYSP were simply the still captures of the video

streamed by the defendant during the Omegle chat on October 25, 2015. These still images were

flagged by Omegle’s software, seized by Omegle and uploaded to Omegle’s server. Unlike the email

and attachments at issue in Ackerman, there was no additional correspondence or information

contained in the two images.



       The NYSP received the images in a Cybertipline Report from NCMEC, which is a

notification that NYSP regularly receives specific to child pornography cases. When NYSP opened

the images, it was for the sole purpose to confirm the images contained child pornography that would

meet the legal criteria required for criminal charges. As in Jacobsen, there was a virtual certainty

that nothing else of significance except child pornography would be found in the attachments and a

manual search of the unopened file would reveal nothing more than Omegle’s private search

(through virtual technology) already revealed. (Jacobsen 466 U.S. at 120). Therefore, NYSP’s

activity falls within the private search doctrine and no Fourth Amendment violation occurred.




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       Assuming arguendo, the Court finds that NYSP did expand the private search as to image

“a9e7”, it is meaningless for this specific case. Perhaps in other cases with different facts, the actions

of NYSP may be of concern. Here however, the only image of any importance is jpeg “c6d0”.

(Government Exhibit 1). It is undisputed that image “c6d0” was opened by an Omegle third party

human moderator, and NYSP did not expand any search done with respect to that image. That

particular image established the probable cause basis for the warrant. Therefore, it makes no

difference what NYSP did with respect to image “a9e7” as it was not confirmed to contain child

pornography and it was not used for establishing probable cause for the warrant.



       Franks Analysis

       The hearing testimony made clear there were no misrepresentations or falsehoods contained

in the search warrant. (Government Exhibit 12). Investigator Cerretto testified that he personally

reviewed image “c6d0” (Government Exhibit 1), which he determined to contain child pornography.

He described the image in the application as being a young girl between 4 and 7 years old engaging

in oral sex with a K-9. (HT, pp. 169-171). A review of the image, introduced at the hearing as

Government Exhibit 1, shows his description was accurate. He explained that the application states

the image was uploaded at 2:30 because he considered the defendant’s actions related to the two

images to be one ongoing incident, which began at 2:30 when the first image (“a9e7”) was uploaded.

(HT, pp. 188-189).




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       The defendant’s claim that there was a fraudulent misstatement in the warrant application

was completely undermined by the testimony at the hearing. Before submitting the affidavit for

judicial consideration, Investigator Cerretto personally viewed the image in question and determined

the girl was between 4 and 7 years old. (HT, pp. 169-171). He did not need to rely on the

CyberTipline Report description because he had personal knowledge of what the photo contained.



       In order to consider a Franks argument, a defendant challenging an affidavit must make “a

substantial preliminary showing that (1) the affidavit contained false statements made knowingly or

intentionally, or with reckless disregard for the truth; and (2) the challenged statements or omissions

were necessary to the Magistrate’s probable cause finding. United States v. Levasseur, 816 F.2d 37,

43 (2d Cir. 1987) (citing United States v. Franks, 438 U.S. at 154, 171-172 (1978)). A hearing is

required only if the defendant provides the court with a sufficient basis upon which to doubt the truth

of the affidavit at issue. As the Supreme Court has explained:

           To mandate an evidentiary hearing, the challenger’s attack must be more than
           conclusory and must be supported by more than a mere desire to cross-
           examine. There must be allegations of deliberate falsehood or of reckless
           disregard for the truth, and those allegations must be accompanied by an offer
           of proof. They should point out specifically the portion of the warrant
           affidavit that is claimed to be false; and they should be accompanied by a
           statement of supporting reasons. Affidavits or sworn or otherwise reliable
           statements of witnesses should be furnished, or their absence satisfactorily
           explained.

       Franks, 438 U.S. at 171.




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       With respect to the first prong, “allegations of negligence or innocent mistake are

insufficient.” Id. Instead, the focus is not on “whether a mistake was made, but rather on the

intention behind the mistake.” United States v. Markey, 131 F. Supp. 2d 316, 324 (D. Conn. 2001),

aff’d, 69 F. App’x 492 (2d Cir. 2003). Thus, Franks teaches that not all statements in an affidavit

have to be true; instead “the statements [must] be ‘believed or appropriately accepted by the affiant

as true.’” See United States v. Campino, 890 F.2d 588, 592 (2d Cir. 1989) (quoting Franks, 438 U.S.

at 165).



       With respect to omissions, “the mere intent to exclude information is insufficient. . . [because]

‘every decision not to include certain information in the affidavit is ‘intentional’ insofar as it is made

knowingly.’” United States v. Awadallah, 349 F.3d 42, 66 (2d Cir. 2003) (quoting United States v.

Colkley, 899 F.2d 297, 300-301 (4th Cir. 1990)).         Accordingly, “to have misled knowingly or

recklessly, the government must have done more than make an intentional decision not to include

the information; instead the misleading statement or omission must have been ‘designed to mislead’

or ‘made in reckless disregard of whether [it] would mislead.”’ United States v. Rajaratnam, 2010

WL 4867402 at *8 (quoting United States v. Awadallah, 349 F.2d at 68).



       To determine whether a misstatement in an affidavit is material, the court must “set aside the

falsehoods in the application… and determine whether the untainted portions suffice to support a

probable cause. . . finding.” United States v. Rajaratnam, 719 F.3d 139, 146 (2d Cir. 2013).

Although omissions are governed by the same rules as misstatements, the literal Franks approach is


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not appropriate because by their nature, omissions cannot be deleted; therefore the better approach

in dealing with omissions is to insert the omitted truths and determine if the inclusion of such

omissions would still support a finding of probable cause. Id., citing United States v. Ferguson, 758

F.2d 843, 848 (2d Cir.1985).



       If the Court inserts the “omitted truths” in this case, the application would include the fact

that Omegle’s human moderator opened image “c6d0” and that NCMEC’s employee opened the

same image. (HT, pp. 46, 130). The application would then state that Investigator Cerretto opened

the same image and it contained child pornography. (HT, pp. 169-170). Clearly, these facts would

support a finding of probable cause. The only image that could possibly be suppressed in this case,

is image “a9e7”, which was not even mentioned in the warrant and is irrelevant to the judge’s

probable cause determination in issuing the warrant.



Accordingly, the defendant’s argument fails.



Good Faith Doctrine

       Should the court find NYSP’s activity exceeded Omegle’s private search with respect to jpeg

image “c6d0”, the government asserts that Investigator Cerretto acted in good faith in applying for

the warrant in a subsequent filing. United States v. Leon, 468 U. S. 897 (1984). He received a

NCMEC Cybertip Report with two images. He opened them for the sole purpose of confirming

they contained child pornography. He reviewed image “c6d0 and observed a young girl engaging


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in oral sex with a dog. He then applied for a search warrant, using that image as a basis for

establishing probable cause, in addition to information that the subscriber of the IP address, Scott T.

Wilbert was a registered sex offender and was also investigated for previous allegations involving

child pornography. He did everything correctly as it pertains to the only relevant image in this case,

image “c6d0”. The other image in question was not included in the warrant and has no relevance

to this analysis.

       Quite simply there was no law enforcement misconduct here that would warrant suppression

of evidence in this case.


                                          CONCLUSION


       Based on the foregoing, it is submitted that the defendant=s motion to suppress the evidence

in this case be denied.


       DATED: Rochester, New York, April 23, 2018.

                                                   Respectfully submitted,

                                                   JAMES P. KENNEDY, JR.
                                                   United States Attorney


                                            By:    s/Melissa M. Marangola
                                                   MELISSA M. MARANGOLA
                                                   Assistant U.S. Attorney
                                                   U.S. Attorney=s Office
                                                   Western District of New York
                                                   100 State Street, Suite 500
                                                   Rochester, NY 14614
                                                   585/399-3925
                                                   Melissa.Marangola@usdoj.gov

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